Case 1:22-cv-01724 Document 1-3 Filed 07/13/22 Page 1 of 10
Case 1:22-cv-01724 Document 1-3 Filed 07/13/22 Page 2 of 10
Case 1:22-cv-01724 Document 1-3 Filed 07/13/22 Page 3 of 10
Case 1:22-cv-01724 Document 1-3 Filed 07/13/22 Page 4 of 10
Case 1:22-cv-01724 Document 1-3 Filed 07/13/22 Page 5 of 10
Case 1:22-cv-01724 Document 1-3 Filed 07/13/22 Page 6 of 10
Case 1:22-cv-01724 Document 1-3 Filed 07/13/22 Page 7 of 10
Case 1:22-cv-01724 Document 1-3 Filed 07/13/22 Page 8 of 10
Case 1:22-cv-01724 Document 1-3 Filed 07/13/22 Page 9 of 10
Case 1:22-cv-01724 Document 1-3 Filed 07/13/22 Page 10 of 10
